Case 21-40834-drd11           Doc 245 Filed 12/20/21 Entered 12/20/21 11:04:08           Desc
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MOW 3007-1.1   (4/2021)



                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

IN RE:                                                    )
                                                          )
INTERSTATE UNDERGROUND WAREHOUSE                          )
     AND INDUSTRIAL PARK, INC.                            )       Case. No. 21-40834
                                                          )       Chapter 11
                               Debtor.                    )

                                   OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor MarksNelson, LLC, in the amount of
$4,171.29, and filed on August 20, 2021. The court claim number is 9-1.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

   Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
   Objection in which to file a Response, if you do not want the court to eliminate or change
   your claim. The Response shall be in writing and state why the claim should be allowed as
   filed. If a Response is filed, the Court will schedule a hearing. If no timely Response is
   filed, the Court will enter an Order sustaining the Objection to the Claim. Parties not
   represented by an attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400
   E. 9th St., Room 1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney
   must be served a copy of the Response by regular mail. If your Response is mailed, it must
   be early enough so that the court will receive it on or before 30 days after service of the
   Objection.

The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
BOXES)

☒     The claim should be disallowed entirely because the services rendered were for Interstate
Underground Warehouse LLC and not for the Debtor.
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Dated: 12/20/2021                                   KRIGEL & KRIGEL, P.C.


                                                     /s/ Erlene W. Krigel
                                                    Erlene W. Krigel, MO #29416
                                                    4520 Main St., Ste. 700
                                                    Kansas City, MO 64111
                                                    Telephone: (816) 756-5800
                                                    Fax: (816) 756-1999
                                                    Email: ekrigel@krigelandkrigel.com
                                                    ATTORNEYS FOR DEBTOR

                                 CERTIFICATE OF SERVICE

I Erlene W. Krigel, hereby certify that a true and correct copy of the Objection to Claim was
mailed to MarksNelson LLC by first class mail this 20th day of December, 2021:

McNeilePappas, PC
c/o Austin B. Hayden
7500 W. 110th St., Ste. 110
Overland Park, KS 66210


and mailed or emailed to all other parties listed on the Court’s ECF noticing system.

Dated: 12/20/2021                                           /s/ Erlene W. Krigel
                                                            Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties



ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
